                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF WISCONSIN



VERNARD BROOKS,

                           Plaintiff,

             v.                                       Case No. 17-CV-659

COMMUNITY MEMORIAL HOSPITAL
OF MENOMONEE FALLS, INC, et al.,

                           Defendants.



                             ORDER OF DISMISSAL


      Based upon the stipulation of the parties (ECF No. 38), this matter is hereby

dismissed with prejudice and without costs for either party.

      SO ORDERED.

      Dated at Milwaukee, Wisconsin this 24th day of August, 2018.



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                                               WILLIAM E. DUFFIN
                                               U.S. Magistrate Judge
